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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
                                             §
                                             §
VS.                                          §   CRIMINAL NO. H-10-108-4
                                             §
                                             §
                                             §
BENITO TAPIA                                 §


                                        ORDER

       Defendant Benito Tapia filed an unopposed motion for continuance of the sentencing

hearing and to extend time for filing objections, (Docket Entry No. 127). The motion is

GRANTED. The sentencing hearing is reset to May 10, 2011at 9:00 a.m. Objections to

the presentence investigation report are to be filed by April 26, 2011.

              SIGNED on February 7, 2011, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
